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                                UNITED STATES DISTRICT COURT

                                 MIDDLE DISTRICT OF LOUISIANA

MINUTE ENTRY:
NOVEMBER 27, 2023
CHIEF DISTRICT JUDGE SHELLY D. DICK


PRESS ROBINSON, ET AL                                                      CIVIL ACTION

VERSUS
                                                                           NO. 22-211-SDD-SDJ
KYLE ARDOIN, ET AL

                                        CONSOLIDATED WITH

EDWARD GALMON, SR., ET AL                                                  CIVIL ACTION

VERSUS
                                                                           NO. 22-214-SDD-SDJ
KYLE ARDOIN, ET AL


          This matter came on this day for a Status Conference.

          Making appearances for the parties were1:

                          Stuart C. Naifeh, Esq.
                          Counsel for Robinson Plaintiffs

                          Abha Khanna, Esq.
                          Counsel for Galmon Plaintiffs

                          Philip J. Strach, Esq.
                          Counsel for Kyle Ardoin

                          Katherine L. McKnight, Esq.
                          Counsel for Clay Schexnayder and Patrick Page Cortez

                          Elizabeth Baker Murrill, Esq.
                          Angelique Duhon Freel, Esq.
                          Counsel for State of Louisiana – Attorney General Landry




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    Numerous other enrolled counsel for the parties were present in person and telephonically.
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                        Stephen M. Irving, Esq.
                        Arthur Ray Thomas, Esq.
                        Counsel for Louisiana Legislative Black Caucus



          The parties discussed scheduling of the bench trial.

          The parties filed briefs setting forth their scheduling preferences. (Rec. Doc. Nos.

307, 311). This matter is scheduled for a remedial hearing on the preliminary injunction

set to commence on February 5, 2024. Pursuant to the Fifth Circuit’s most recent ruling

in this case the remaining procedure will be converted to a trial on the merits.

          The Plaintiffs move the Court to convert the presently scheduled preliminary

injunction remedial hearing date to a trial on the merits. The Defendants and intervenors

submit that a trial commencing on February 5, 2024 leaves insufficient time for trial

preparation and argue that considering the legislative process the earliest the legislature

could plausibly enact a Voting Rights Act (“VRA”) Section 22 compliant map would be

January 25, 2024. Defendants propose a trial date commencing on or after March 11th.

Plaintiff’s counsel expressed that unalterable conflicts and expert witness availability

make a March 11th trial date impossible.

The Court hereby sets the following dates:

          The deadline for the parties to produce and exchange enacted maps and

illustrative maps is January 30, 2024. The maps exchanged among the parties shall be

contemporaneously filed in the record. If the Defendant/Intervenors fail to produce a new

enacted map on or before January 30, 2024, this matter will proceed to a trial on the

merits on February 5, 2024 which shall continue daily until complete. If a new enacted

map is produced, exchanged with Plaintiff’s counsel, and filed in the record on or before


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    52 U.S.C § 10301.
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January 30, 2023, a trial on the merits shall be held commencing on March 25, 2024, and

shall continue daily until complete.

       An in-person final pre-trial conference shall be held in Court Room 3 seven days

before trial. Expert reports shall be exchanged and filed in the record within ten days after

the exchange of maps. Motions in limine shall be filed thirty days prior to trial.

       This matter is hereby referred to the Magistrate Judge for a detailed scheduling

order under both schedules set forth above.


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C: CV 36; T: 30 mins
